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  13 KENDALL SCALLY
  14
                            UNITED STATES DISTRICT COURT
  15                     SOUTHERN DISTRICT OF CALIFORNIA
  16
     KENDALL SCALLY, individually and ) Case No. 3:16-cv-01992-WQH-WVG
  17 on behalf of others similarly situated, )
  18                                         ) CLASS ACTION
                      Plaintiff,             )
  19                                         ) THIRD AMENDED CLASS ACTION
  20         vs.                             ) COMPLAINT FOR VIOLATION OF:
                                             )
  21                                         ) 1. THE FAIR DEBT COLLECTION
  22 DITECH FINANCIAL LLC.                   ) PRACTICES ACT; AND
                                             )
  23                  Defendant.             ) 2. THE ROSENTHAL FAIR DEBT
  24                                         ) COLLECTION PRACTICES ACT
                                             )
  25                                         )
  26                                         ) DEMAND FOR JURY TRIAL
                                             )
  27                                         )
  28 __________________________________ )

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                       THIRD AMENDED CLASS ACTION COMPLAINT
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   1 Plaintiff KENDALL SCALLY alleges as follows:
   2                                      INTRODUCTION
   3         1.     Plaintiff KENDALL SCALLY (hereinafter referred to as “Plaintiff”),
   4 brings this lawsuit against DITECH FINANCIAL LLC. (hereinafter “Defendant”) for
   5 violations of the Federal Fair Debt Collection Practices Act (“FDCPA”), and
   6 Rosenthal Fair Debt Collections Practice Act (“Rosenthal FDCPA”).
   7         2.     Plaintiff brings this action to seek actual damages, statutory damages,
   8 injunctive relief, attorneys’ fees and costs, and other relief the Court deems
   9 appropriate.
  10         3.     Plaintiff alleges as follows, upon personal knowledge as to himself and
  11 his own acts and experiences, and, as to all other matters, upon information and
  12 belief, including investigation conducted by his attorneys.
  13         4.     Plaintiff makes these allegations on information and belief, with the
  14 exception of those allegations that pertain to Plaintiff, or to a Plaintiff's counsel,
  15 which Plaintiff alleges on personal knowledge.
  16         5.     While many violations are described below with specificity, this
  17 Complaint alleges violations of the statutes cited in their entirety.
  18         6.     Unless otherwise stated, Plaintiff alleges that any violations by
  19 Defendant were knowing and intentional, and that Defendant did not maintain
  20 procedures reasonably adapted to avoid any such violations.
  21         7.     Unless otherwise indicated, the use of Defendant in this Complaint
  22 includes all agents, employees, officers, members, directors, heirs, successors,
  23 assigns, principals, trustees, sureties, subrogees, representatives, and insurers of
  24 Defendant.
  25                                         PARTIES
  26         8.     Plaintiff is, and at all times mentioned herein was, an individual, residing
  27 in the County of San Diego, State of California.
  28

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   1         9.    Plaintiff is a natural person allegedly obligated to pay a consumer debt to
   2 Defendants, alleged to have been due and owing, and is therefore both a “consumer”
   3 as that term is defined by 15 U.S.C. § 1692a(3) of the FDCPA, and is also therefore a
   4 “debtor” as that term is defined by California Civil Code § 1788.2(h) of the Rosenthal
   5 Act..
   6         10.   Plaintiff is informed and believes, and thereupon alleges, that Defendant
   7 is, and at all times mentioned herein was, a limited liability company who was
   8 conducting and engaging in business in the County of San Diego, State of California.
   9         11.   Plaintiff is informed and believes, and thereupon alleges, that Defendant
  10 uses an instrumentality of interstate commerce or the mails in a business the principal
  11 purpose of which is the collection of debts, and is one who regularly collects or
  12 attempts to collect, directly or indirectly, debts owed or due or asserted to be owed or
  13 due another, and is therefore a “debt collector” as the term is defined by 15 U.S.C.
  14 section 1692a(6).
  15         12.   Defendant regularly engages in any act or practice in connection with the
  16 collection of consumer debts, which means it also thereby engages in “debt
  17 collection” within the meaning of California Civil Code section 1788.2(b) of the
  18 Rosenthal FDCPA.
  19         13.   Plaintiff is informed and believes, and thereupon alleges that Defendant
  20 is a “debt collector” as the term is defined by Civil Code section 1788.2(c), because in
  21 the ordinary course of business, it regularly engages in “debt collection” on behalf of
  22 itself or others.
  23         14.   As a partnership, corporation, limited liability company, or other similar
  24 entity, Defendant is therefore a “person” within the meaning of California Civil Code
  25 section 1788.2(g) of the Rosenthal FDCPA.
  26         15.   Defendant alleged that Plaintiff owed a debt that it was allegedly
  27 collecting related to money arising out of a line of credit that was issued to Plaintiff,
  28 without payment being required at the time of the line of credit having been rendered

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   1 to Plaintiff, with an alleged agreement that Plaintiff would pay back the line of credit
   2 over time.
   3         16.   Therefore, Plaintiff is informed and believes that the money alleged to
   4 have been owed to Defendant originated from monetary credit that was extended
   5 primarily for personal, family, or household purposes, and Defendant alleged that the
   6 debt was due and owing, and is therefore a “debt” as that term is defined by 15 U.S.C.
   7 § 1692a(5) of the FDCPA and California Civil Code § 1788.2(d) and § 1788.2(f) of
   8 the Rosenthal Act.
   9         17.   As Defendant was attempting to collect on a debt that originated from
  10 monetary credit extended primarily for personal, family, or household purposes due to
  11 a line of credit being issued to Plaintiff without payment being required at the time of
  12 issuance, and alleged that the debt was due and owing, the alleged debt was therefore
  13 a “consumer credit transaction” within the meaning of California Civil Code sections
  14 1788.2(e) and 1788.2(f) of the Rosenthal FDCPA.
  15         18.   Because Plaintiff, a natural person allegedly obligated to pay money to
  16 Defendant arising from a “consumer credit transaction” due to a line of credit being
  17 issued to Plaintiff without payment being required at the time of issuance, the money
  18 allegedly owed was a “consumer debt” within the meaning of California Civil Code
  19 section 1788.2(f) of the Rosenthal FDCPA.
  20         19.   Plaintiff is informed and believes and thereupon alleges that at all times
  21 herein mentioned each of the Defendants was the agent, servant, employee, or partner
  22 of each of the remaining defendants and, in committing the acts and omissions
  23 hereinafter alleged, was acting within the course and scope of such agency,
  24 employment, partnership, or other business relationship, and were each responsible
  25 for the acts and omissions alleged in this complaint.
  26                             JURISDICTION AND VENUE
  27         20.   This Court has jurisdiction under 15 U.S.C. section 1692k(d), 28 U.S.C.
  28 section 1331, and 28 U.S.C. section 1367 for supplemental state claims.

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   1        21.    This action arises out of violations of the FDCPA and Rosenthal
   2 FDCPA. Because Defendant does business within the State of California, County of
   3 San Diego, personal jurisdiction is established.
   4        22.    Venue is proper pursuant to 28 U.S.C. section 1391.
   5                                  RELEVANT FACTS
   6        23.    Sometime prior to March of 2016, Plaintiff is alleged to have incurred
   7 certain financial obligations with HFC Company, LLC, whereby he received a line of
   8 credit for his use within his personal life for everyday purchases.
   9        24.    The agreement was for Plaintiff to receive the line of credit, for him to
  10 use within his personal life for everyday purchases, which did not require any
  11 payment from Plaintiff at the time, but instead was an agreement whereby Plaintiff
  12 would repay the amount used by him over time in the future, with interest.
  13        25.    This line of credit was primarily for personal, family or household
  14 purposes and is therefore a “debt” as that term is defined by 15 U.S.C. §1692a(5).
  15        26.    These alleged obligations were money, property, or their equivalent,
  16 which is due or owing, or alleged to be due or owing, from a natural person to another
  17 person and are therefore a “debt” as that term is defined by California Civil Code
  18 §1788.2(d), and a “consumer debt” as that term is defined by California Civil Code
  19 §1788.2(f), and also a “consumer credit transaction” as that term is defined by
  20 California Civil Code §1788.2(e).
  21        27.    Sometime after March 25, 2016, Plaintiff received a collection notice,
  22 dated, March 25, 2016, from Defendant. The March 25, 2016 stated that Plaintiff
  23 owed a debt in the amount of $7,662.12 to Defendant. A copy of Defendant’s March
  24 25, 2016 collection notice is attached hereto as Exhibit 1, and is incorporated herein
  25 by reference.
  26        28.    The March 25, 2016 collection notice stated in part that “Because of
  27 interest, late charges, and other charges that may vary from day to day, the amount
  28 due on the day you pay may be greater. Hence, if you pay the amount shown above,

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   1 an adjustment may be necessary after we receive your check, in which event we will
   2 inform you before depositing the check for collection.”
   3         29.   However, no interest, late charges, or other charges were incurring.
   4         30.   Sometime after June 20, 2016, Plaintiff received a second collection
   5 notice, dated June 20, 2016, from Defendant. A copy of Defendant’s June 20, 2016
   6 collection notice is attached hereto as Exhibit 2, and is incorporated herein by
   7 reference
   8         31.   The June 20, 2016 collection stated in part that “We are required to
   9 report any debt forgiveness to the Internal Revenue Service. This may result in
  10 consequences regarding your federal, state or local tax liability.”
  11         32.   Further, this June 20, 2016 collection notice also stated that the
  12 outstanding balance was $7,662.12, which shows that no interest, late charges, or any
  13 other additional charges had accrued since the March 2016 collection notice.
  14         33.   As a direct result of these statements, Plaintiff suffered bewilderment and
  15 confusion over whether he owed any amount to Defendant, what amount in particular
  16 was owed, and what his tax consequences may or may not be upon any amount
  17 claimed to be owed.
  18         34.   Because Congress has determined that this type of conduct amounts to
  19 abusive, deceptive, and unfair debt collection practices that contribute to the number
  20 of personal bankruptcies, to marital instability, to the loss of jobs, and to invasions of
  21 individual privacy, Plaintiff was exposed to these dangers, which actually exist to
  22 Plaintiff in a personal and individual way, and he did, in fact, suffer from such
  23 individual harm and exposure.
  24                                 CLASS ALLEGATIONS
  25         35.   Plaintiff brings this action on his own behalf, and on behalf of all others
  26 similarly situated.
  27 FDCPA CLASS A
  28         36.   Plaintiff defines the FDCPA CLASS A as follows:

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   1              All persons with addresses within the State of California who
   2              were sent a written communication by Defendant that was
                  substantially similar or identical to Plaintiff’s Exhibit 1 (March
   3              25, 2016 collection notice), in which the communication
   4              included the language “Because of interest, late charges, and
                  other charges that may vary from day to day, the amount due
   5              on the day you pay may be greater.”, when no interest, late
   6              charges, or other charges were in fact being incurred.

   7 FDCPA CLASS B
   8        37.   Plaintiff defines the FDCPA CLASS B as follows:
   9              All persons with addresses within the State of California who
  10              were sent a written communication by Defendant that was
                  substantially similar or identical to Plaintiff’s Exhibit 2 (June
  11              20, 2016 collection notice), which were not returned
  12              undelivered by the United States Postal Service, in which the
                  communication included the language “We are required to
  13              report any debt forgiveness to the Internal Revenue Service.”
  14
       ROSENTHAL FDCPA CLASS A
  15
            38.   Plaintiff defines the Rosenthal FDCPA CLASS A as follows:
  16
                  All persons with addresses within the State of California who
  17              were sent a written communication by Defendant that was
  18              substantially similar or identical to Plaintiff’s Exhibit 1 (March
                  25, 2016 collection notice), in which the communication
  19              included the language “Because of interest, late charges, and
  20              other charges that may vary from day to day, the amount due
                  on the day you pay may be greater.”, when no interest, late
  21              charges, or other charges were in fact being incurred.
  22
       Rosenthal FDCPA CLASS B
  23
            39.   Plaintiff defines the Rosenthal FDCPA CLASS B as follows:
  24
                  All persons with addresses within the State of California who
  25              were sent a written communication by Defendant that was
  26              substantially similar or identical to Plaintiff’s Exhibit 2 (June
                  20, 2016 collection notice), which were not returned
  27              undelivered by the United States Postal Service, in which the
  28              communication included the language “We are required to
                  report any debt forgiveness to the Internal Revenue Service.”
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   1        40.    The FDCPA Class and the Rosenthal FDCPA Class shall be referred to
   2 jointly as “The Classes.”
   3        41.    Defendant and its employees or agents are excluded from the Classes.
   4        42.    Plaintiff does not know the exact number of persons in the Classes, but
   5 believes them to be in the several hundreds, if not thousands, making joinder of all
   6 these actions impracticable.
   7        43.    The identity of the individual members is ascertainable through
   8 Defendant’s and/or Defendant’s agents’ records or by public notice.
   9        44.    There is a well-defined community of interest in the questions of law and
  10 fact involved affecting the members of the Classes. The questions of law and fact
  11 common to the Classes predominate over questions affecting only individual class
  12 members, and include, but are not limited to, the following:
  13        a)     Whether Defendant violated the FDCPA by sending a written
  14               communication substantially in the form of Exhibit 1 to the members of
                   the Classes;
  15
  16        b)     Whether Defendant violated the FDCPA by sending a written
                   communication substantially in the form of Exhibit 2 to the members of
  17               the Classes;
  18
            c)     Whether Defendant violated the Rosenthal FDCPA by sending using a
  19               written communication substantially in the form of Exhibit 1 to the
  20               members of the Classes;
            d)     Whether Defendant violated the Rosenthal FDCPA by sending using a
  21               written communication substantially in the form of Exhibit 2 to the
  22               members of the Classes;

  23        e)     Whether members of the Classes are entitled to the remedies under the
  24               FDCPA;

  25        f)     Whether members of the Classes are entitled to the remedies under the
  26               Rosenthal FDCPA;

  27        g)     Whether members of the Classes are entitled to declaratory relief;
  28

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   1        h)     Whether members of the Classes are entitled to an award of reasonable
   2               attorneys’ fees and costs of suit pursuant to the FDCPA;

   3        i)     Whether members of the Classes are entitled to an award of reasonable
   4                         attorneys’ fees and costs of suit pursuant to the Rosenthal
                   FDCPA.
   5
   6        45.    Plaintiff will fairly and adequately protect the interests of the Classes.

   7        46.    Plaintiff has retained counsel experienced in consumer class action

   8 litigation and in handling claims involving unlawful debt collection practices.
   9         47. Plaintiff’s claims are typical of the claims of the Classes, which all arise

  10 from the same operative facts involving unlawful collection practices.
  11       48. A class action is a superior method for the fair and efficient adjudication

  12 of this controversy.
  13        49. Class-wide damages are essential to induce Defendant to comply with

  14 the Federal and State laws alleged in the Complaint.
  15       50. The interests of class members in individually controlling the

  16 prosecution of separate claims against Defendant is small because the maximum
  17 statutory damages in an individual action under the FDCPA or Rosenthal FDCPA is
  18 $1,000. Management of these claims is likely to present significantly fewer
  19 difficulties than those presented in many class claims, e.g. securities fraud.
  20        51.    Defendant has acted on grounds generally applicable to the Classes,

  21 thereby making appropriate final declaratory relief with respect to the class as a
  22 whole.
  23        52.    Plaintiff contemplates providing notice to the putative class members by

  24 direct mail in the form of a postcard and via Internet website
  25        53. Plaintiff requests certification of a hybrid class combining the elements

  26 of Fed. R. Civ. P. 23(b)(3) for monetary damages and Fed. R. Civ. P. 23(b)(2) for
  27 equitable relief.
  28 ///

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   1                              FIRST CAUSE OF ACTION
   2                               (Violation of the FDCPA)

   3         54.   Plaintiff re-alleges all paragraphs above, as if fully set forth herein.

   4         COUNT 1

   5        55.    The language “Because of interest, late charges, and other charges that

   6 may vary from day to day, the amount due on the day you pay may be greater.
   7 Hence, if you pay the amount shown above, an adjustment may be necessary after we
   8 receive your check, in which event we will inform you before depositing the check
   9 for collection” in Defendant’s March 25, 2016 collection notice is false, confusing,
  10 and misleading in violation of 15 U.S.C. sections 1692e, 1692e(5), and 1692e(10).
  11      56.    The March 25, 2016 collection notice was false, confusing, and

  12 misleading, because it informs the least sophisticated debtor that interest is accruing
  13 on the debt when in fact there was no interest accruing. In fact, subsequent
  14 communication on June 20, 2016, from the Defendant indicates that the debt
  15 remained the same and was not increasing due to interest, late charges, or other
  16 charges. Furthermore, Defendant’s statement attempted to trick Plaintiff into
  17 believing that interest, late charges or other charges are accruing which would force
  18 Plaintiff to pay the debt immediately in order to avoid any further increase of the debt.
  19 Clearly, Defendant’s statement is false, deceptive, and misleading. See Howell v.
  20 Eagle Accounts Group, Inc., 2015 WL 1097397 (S.D. Ind. Mar. 10, 2015).
  21      57.   The language also amounts to a threat to take action (adding of interest,

  22 late charges, or other charges) that is not intended to be taken, in violation of 15
  23 U.S.C. section 1692e(5).
  24         COUNT 2

  25         58.   The language “We are required to report any debt forgiveness to the

  26 Internal Revenue Service. This may result in consequences regarding your federal,
  27 state or local tax liability.” in Defendant’s June 20, 2016 collection notice is false,
  28 confusing, and misleading. This statement is false and misleading in violation of 15

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   1 U.S.C. sections 1692e and 1692e(10) because there are many exceptions to IRS
   2 reporting requirements and not every debt forgiveness is required to be so reported.
   3 See Kaff v. Nationwide Credit, Inc., 2015 WL 12660327, at *6 (E.D.N.Y. Mar. 31,
   4 2015); Good v. Nationwide Credit, Inc., 55 F. Supp. 3d 742, 747 (E.D. Pa. 2014).
   5         59.   By way of example, this statement is false and misleading to the least
   6 sophisticated debtor, because “belief that tax consequences would stem from debt
   7 forgiveness could potentially impact whether the Plaintiff decides to pay the lesser
   8 amount offered, as opposed to the entire debt owed or even some other option.” Bautz
   9 v. ARS National Services, Inc., 2016 WL 7422301 at * 3 (E.D.N.Y Dec. 23, 2016);
  10 see also Valez v. Enhanced Recovery Co., LLC, 2016 WL 1730721, at *3 (E.D. Pa.
  11 May 2, 2016); Foster v. AllianceOne Receivables Mgmt., 2016 WL 1719824 (N.D.
  12 Ill. Apr. 28, 2016).
  13         60.   As a result of each and every violation of the FDCPA, Plaintiff has
  14 suffered actual damages and harm resulting from Defendant’s actions as heretofore
  15 alleged, including but not limited to worry, emotional distress, anxiety, and
  16 humiliation, the exact amount of which is to be proven at trial.
  17         61.   As a result of each and every violation of the FDCPA, Plaintiff incurred
  18 additional actual damages including, but not limited to, transportation and gasoline
  19 costs to the law firm, telephone call charges, copies, postage, and other damages.
  20         62.   As a result of each and every violation of the FDCPA, Plaintiff is entitled
  21 to actual damages pursuant to 15 U.S.C. section 1692k(a)(1); statutory damages of up
  22 to $1,000.00 pursuant to section 1692k(a)(2)(A); and reasonable attorney’s fees and
  23 costs pursuant to section 1692k(a)(3).
  24                             SECOND CAUSE OF ACTION
  25                           (Violation of the Rosenthal FDCPA)

  26         63.   Plaintiff re-alleges all paragraphs above, as if fully set forth herein.
  27
  28

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   1         64.   Any violation of the FDCPA is a violation of California Civil Code
   2 section 1788.17, also known as the Rosenthal FDCPA, because section 1788.17
   3 incorporates the FDCPA.
   4         65.   Defendant violated Civil Code section 1788.17 because it violated 15
   5 U.S.C. sections 1692e and 1692e(10) as discussed above.
   6         66.   The Ninth Circuit in Gonzales v. Arrow Fin. Servs., LLC, 660 F.3d 1055,
   7 1066 (9th Cir. 2011) has ruled that the Rosenthal FDCPA incorporates the FDCPA’s
   8 class action damages provision in 15 U.S.C. section 1692k(a)(2)(B) via California
   9 Civil Code section 1788.17.
  10         67.   As a result of each and every violation of the Rosenthal FDCPA,
  11 Plaintiff has suffered actual damages and harm resulting from Defendant’s actions as
  12 heretofore alleged, including but not limited to worry, emotional distress, anxiety, and
  13 humiliation, the exact amount of which is to be proven at trial.
  14         68.   As a result of each and every violation of the Rosenthal FDCPA,
  15 Plaintiff incurred additional actual damages including, but not limited to,
  16 transportation and gasoline costs to the law firm, telephone call charges, copies,
  17 postage, and other damages.
  18         69.   As a result of each and every violation of the Rosenthal FDCPA,
  19 Plaintiff is entitled to actual damages pursuant to California Civil Code section
  20 1788.30(a); statutory damages under 15 U.S.C. section 1692k(a)(2)(A) which is
  21 incorporated by California Civil Code section 1788.17; statutory damages for a
  22 knowing or willful violation in the amount of up to $1,000.00 pursuant to California
  23 Civil Code section 1788.30(b); and reasonable attorney’s fees and costs pursuant to
  24 California Civil Code section 1788.30(c).
  25                 REQUEST FOR PRESERVATION OF EVIDENCE
  26         1.    Preserve all forms of electronic data, regardless of where the data exists,
  27 without modification to or deletion of any potentially discoverable data;
  28         2.    Suspend all procedures that may alter or delete computer data;

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   1         3.     Prevent deleting, overwriting, defragmenting, or compressing the data;
   2         4.     Preserve all archived back-up tapes and ensure that (a) if archive tapes
   3 are rotated, the relevant tapes are removed from the rotation; (b) if backups are made
   4 to hard drives, preserve the hard drive as well;
   5         5.     Preserve the contents of all hard drives, network drives, tape drives,
   6 optical drives, floppy disks, CD and DVD drives, and all other types of drives or
   7 storage media that are within the possession, custody or control of all people who
   8 have knowledge of relevant facts and those who work with them, such as assistants;
   9         6.     Preserve the contents of all information on portable computers–such as
  10 laptops and palmtops–used by those people as well as home computers, if these are
  11 used for work purposed;
  12         7.     Preserve the contents of all data on computers that were used since the
  13 limitations period on the lawsuit began (for example; one year prior to filing) but that
  14 are no longer in use.
  15                             REQUEST FOR JURY TRIAL
  16         As declared by the seventh amendment to the Constitution of the United States
  17 of America, Plaintiff is entitled to, and demands, a trial by jury.
  18                PRAYER FOR DAMAGES AND OTHER REMEDIES
  19         1.     An order certifying the Class as requested herein;
  20         2.     An order appointing the Plaintiff as the representative of the Class;
  21         3.     An order certifying Plaintiff’s counsels as Class Counsel;
  22         4.     An order requiring Defendant, at its own cost, to notify all members of
  23 the Classes of the unlawful acts discussed herein;
  24         5.     An award of statutory damages in the amount of $1,000.00, pursuant to
  25 15 U.S.C. § 1692k(a)(2)(A), for each plaintiff and putative class member;
  26         6.     An award of statutory damages in the amount of $1,000.00, pursuant to
  27 California Civil Code §1788.17, for each plaintiff and putative class member;
  28         7.     An award of statutory damages in the amount of $1,000.00, pursuant to

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   1 California Civil Code §1788.30(b), for each plaintiff and putative class member;
   2        8.    An award of costs of litigation and reasonable attorney’s fees, pursuant
   3 to 15 U.S.C. § 1692k(a)(3);
   4        9.    An award of costs of litigation and reasonable attorney’s fees, pursuant
   5 to California Civil Code §1788.30(c); and
   6        10.   Any and all other relief that this Court deems just and proper.
   7 Respectfully Submitted,
   8
       DATED: 1-3-18                              MASHIRI LAW FIRM
   9                                              A Professional Corporation
  10
                                                  By: /s/Alex Asil Mashiri
  11                                                 Alex Asil Mashiri
                                                     Attorney for Plaintiff
  12
                                                     KENDALL SCALLY
  13
       DATED:1-3-18                         SEMNAR & HARTMAN, LLP
  14
  15                                              By: s/ Jared M. Hartman
                                                  Jared M. Hartman, Esq.
  16
                                                  Semnar & Hartman, LLP
  17                                              Attorneys for Plaintiff
                                                  KENDALL SCALLY
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                        EXHIBIT 1
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  ftditech.g lUalter comp.-rny


DITECH FINANCIAL, LLC
Attention:T'120
7360 SOUTH KYRENE ROAD
TEMPE, pZ85283-4583



KENDALL SCALLY                                                                                      March 25,2016
3943 GAYLE ST
SAN DIEGO, CA 92115

il illfi illfl   ilflililrililrtilrllt
Re:     Ditech Financial, LLC ("Ditech") Account No.:82622788-6
        Creditor: Landmark Asset Receivables Management             LLC


Dear Valued Customer:

The servicing of your account was transferred from HFC Company LLC to Ditech on 06/1612014. We are pleased
to welcome you to Ditech.

As your new servicer for the referenced account, Ditech is required to inform you of the following important notice
regarding your rights under federal law:

          AS OF THE DATE OF THIS LETTER, YOU OWE $7,ffi2.12. BECAUSE OF INTEREST, LATE
          CHARGES, AND OTHER CHARGES THAT MAY VARY FROM DAY TO DAY, THE AMOUNT DUE ON
          THE DAY YOU PAY MAY BE GREATER. HENCE, IF YOU PAY THE AMOUNT SHOWN ABOVE, AN
          ADJUSTMENT MAY BE NECESSARY AFTER WE RECEIVE YOUR CHECK, IN WHICH EVENT WE
          WILL INFORM YOU BEFORE DEPOSITING THE CHECK FOR COLLECTION. FOH FUBTHER
          INFORMATION, CONTACT CUSTOMER SERVICE AT THE ADDRESS OR TOLL.FREE NUMBER
          LISTED BELOW.

          UNLESS YOU NOTTFY US WTTHTN THTRTY (30) DAYS AFTEH RECETVTNG TH|S NOTTCE THAT YOU
          DISPUTE THE VALIDITY OF THIS DEBT, OR ANY POHTION OF THE DEBT, WE WILL ASSUME
          THAT THE DEBT lS VALTD. lF YOU NOTTFY US IN WRITTNG WtTHtN THIRTY (30) DAYS OF
          RECEIVING THIS NOTICE, WE W|LL OBTATN VERTFICATION OF THE DEBT (OR OBTATN A COPY
          OF A JUDGMENT, IF THE DEBT HAS BEEN REDUCED TO JUDGMENT) AND MAIL THE
          VERIFICATTON TO YOU. rN ADDTTION, UPON YOUR WRTTTEN HEQUESTWTTHTN THTRTY (30)
          DAYS AFTER RECEIVING THIS NOTICE, WE WILL ALSO PROVIDE YOU WITH THE NAME AND
          ADDRESS OF THE ORIGINAL CREDITOR, IF DIFFERENT FROM THE CURRENT CREDITOR.


Also, the state Rosenthal Fair Debt Collection Practices Act and the federal Fair Debt Collection Practices Act
require that, except under unusual circumstances, collectors may not contact you before 8 a.m. or after 9 p.m.
They may not harass you by using threats of violence or arrest or by using obscene language. Collectors may not
use false or misleading statements or call you at work if they know or have reason to know that you may not
receive personal calls at work. For the most part, collectors may not tell another person, other than your attorney
or spouse, about your debt. Collectors may contact another person to confirm your location or enforce a
judgment. For more information about debt collection activities, you may contact the Federal Trade Commission
at 1-877-FTC-HELP or www.ftc.gov.

To ensure timely posting of your payments, please send all payments to your new servicer at the address
indicated below:




Debt Validation Letter- Pu rchased Accou nls,   1 0 I 221   201 5                                            0201 0
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                                    33 Filed 01/03/18 PageID.655 Page 17 of 21
                                                               PO Box 94710
                                                        Palatine, lllinois 60094-471 0

We at Ditech are honored to serve you. lf you need to contact us or have any questions, please call Ditech at 1-
877-835-6465, from 6 a.m. to 7 p.m. MST, Monday through Thursday and 6 a.m. to 4 p.m. MST, Friday, or write
to us in regard to this debt at Customer Service, Ditech Financial, LLC PO Box 6176, Rapid City, SD 57709-6176.

Respectfully,



Ditech
1-877-835-6465
6 a.m. to 7 p.m. MST, Monday through Thursday and
6 a.m. to 4 p.m. MST, Friday

Please be advised that we cannot bring a legal action to collect this debt or threaten to do so because the statute
of limitations has expired. lf you do make a payment, we may later be able to bring an action to collect this debt
because the payment may start a new statute of limitations.

This communication is from a debt collector. lt is an attempt to collect a debt, and any information obtained will
be used for that purpose.




Debt Validation Letter-   Pu   rchased Accou nts,   1 0 I 221   201 5                                         0201 0
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                        EXHIBIT 2
     fiditech,
    Case 3:16-cv-01992-WQH-WVG Document 33 Filed 01/03/18 PageID.657 Page 19 of 21
          a   Walts compsny
                                                                                                                                                 6120t2016
     Ditech Financial LLC                           I   iltil ilil ilil flil   Iilil   ilril   tilil til illtil uil ililt ]til ilfr fiil   lt]
     Attention:T120
     7360 South Kyrene Road
     Tempe, AZ 85283-4583


    + BLqlt{En 0E0B55lg3 lGALl,           00h5303
    KENDALL SCALLY
    3943 GAYLE ST
    SAN DIEGO CA, 92115.6616
     r,,,ilh,hlrlft !rlltl,ttl,llrhllhlrllillltllrilltrt,ttttllltt




    Re:       Ditech Financial LLC ("Ditech") Account Number 82622788-6
              Customer Name: KENDALL SCALLY

                                                              SETTLEMENT OPPORTUN ITY

    DeaT KENDALL SCALLY:

    We realize unforeseen problems may occur which make it difficult to meet your contractual obligation. Your
    cooperation and willingness to communicate with Ditech is essential in order for us to help you resolve the
    delinquency on your above-referenced account. At this time, we are offering you this opportunity to settle your
    account in full by paying less than the entire amount due.

    OutstandingBalance $7,662.12
             Offer
    Settlement                     $1,915.53
    Due   Date                     811912016

    We are required to report any debt forgiveness to the lnternal Revenue Service. This may result in consequences
N
    regarding your federal, state or local tax liability. ln addition, if you receive public assistance, the forgiveness of
o
o   debt may affect your eligibility for these benefits. Ditech cannot provide any advice or guidance regarding possible
0   tax consequences or effect on any public assistance benefits. You may wish to consult with your tax professional
    about any possible tax consequences andior your public assistance office regarding other consequences that
    may result from the forgiveness of debt. lf you choose not to proceed with the forgiveness of debt, please contact
    Ditech immediately at 1-855-454-2908.

    This is an outstanding opportunity for you to satisfy your obligation to Ditech. lf the collateral securing the account
    was repossessed, this offer does not entitle you to any ownership rights in the collateral. This offer is to settle
    your account balance in full and, if accepted, you will no longer be responsible for any remaining amount on the
    account.

    lf we do not hear from you by 8119/2016, we will assume you are not interested in this offer and Ditech may
    consider exercising its available remedies.

    If you have questions or concerns, please call Ditech immediately between the hours of 6 a.m. to 7 p.m. MST,
    Monday through Thursday and, 6 a.m. to 4 p.m. MST, Friday at 1-855-454-2908.

    Sincerely,

    Ditech
    't-855-454-2908
    6 a,m. to 7 p.m. MST, Monday through Thursday and
    6 a.m. to 4 p.m, MST, Friday




    Settlement Opportunity     041 1 41201   6                                                                                                               00600
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Please be advised that we cannot bring a legal action to collect this debt or threaten to do so because the statute
of limitations has expired. lf you do make a payment, we may later be able to bring an action to collect this debt
because the payment may start a new statute of limitations.

This communication is from a debt collector. lt is an attempt to collect a debt, and any information obtained will
be used for that purpose.




 Settlement Opportu nity   04 I I 41201   6                                                                           00600
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  1                                         PROOF OF SERVICE

  2   Scally v. Ditech Financial, LLC                       Case No.: 3:16-cv-01992-WQH-WVG
  3

  4          I am employed in the County of San Diego, State of California. I am over the age of 18 and
      am not a party to the within action; my business address is 400 South Melrose Drive, Suite 209,
  5   Vista, California 92081. On the date provided below, I served the foregoing document described
  6   below on the interested parties in this action by placing same in a sealed envelope.
      PLAINTIFF’S THIRD AMENDED COMPLAINT was served on:
  7
       Mathew M. Wrenshall
  8    Perry A. Napolitano
       REED SMITH LLP
  9    355 South Grand Avenue, Suite 2900
 10    Los Angeles, CA 90071
       Attorneys for Defendant
 11
             (BY MAIL) – I caused such envelope(s) with postage thereon fully prepaid to be placed in
 12          the United States mail in Vista, California.

 13          I am “readily familiar” with the firm’s practice of collection and processing correspondence
             for mailing. Under that practice, it would be deposited with the U.S. Postal Service on the
 14          same day with postage thereon fully prepaid at Vista, California, in the ordinary course of
             business. I am fully aware that on motion of the party served, service is presumed invalid if
 15          the postal cancellation date or postage meter date is more than one day after the date of
             deposit for mailing an affidavit.
 16          (BY FACSIMILE) – I caused the above described document(s) to be transmitted to the
             offices of the interested parties at the facsimile number(s) indicated above and the activity
 17          report(s) generated by facsimile number (888) 819-8230 indicating on all pages that they were
             transmitted.
 18
             (BY PERSONAL SERVICE) – I caused such envelope(s) to be delivered by hand to the
 19          office(s) of the addressee(s).
 20          (STATE) – I declare under penalty of perjury under the laws of the State of California that
             the above is true and correct.
 21
             (FEDERAL) – I declare that I am employed in the office of a member of the bar of this court
 22          at whose direction the service was made. Via Electronic Service: The above-described
             documents will be delivered electronically through the court’s ECF/PACER electronic filing
 23          system, as stipulated by all parties to constitute personal service.

 24
      Dated: 1-3-18                                      /s/ Jared M. Hartman
 25                                                      Jared M. Hartman, Esq.
 26

 27

 28
                                                   1
                                            PROOF OF SERVICE
